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                                                                                Daniel Szalkiewicz <daniel@lawdss.com>



New Serve
1 message

Daniel Szalkiewicz <daniel@lawdss.com>                                                       Tue, Feb 8, 2022 at 4:51 PM
To: m Berk <mberk@eliteprocess.com>

 Maria,

 Can you serve this complaint on Baila Sebrow?

 12 BEECHWOOD DR
 LAWRENCE NY 11559



 She is an Orthodox Jew so she can not be served on Saturday or Friday night.

 Thank you.


 Very Truly Yours,

 Daniel S. Szalkiewicz, Esq.

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 Direct Dial: (212) 760-1007
 Cell: (929) 373-2735
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      1. Complaint and Cover Sheet.pdf
      713K
